                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             OWENSBORO DIVISION
                         CIVIL ACTION NO. 4:05-CV-183M



AMANDA WEST                                                                 PLAINTIFF


V.
     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
                             JUDGMENT

TYSON FOODS, INC.                                                           DEFENDANT


                                      ********

       Comes Plaintiff Amanda West, by and through counsel, and for her Response to

Defendant’s Motion for Summary Judgment, states as follows:

                                       Introduction

       Tyson studiously avoids its obligation to view evidence and draw all reasonable

inferences in favor of West in its Motion. Instead, Tyson presents the Court with a

version of “facts” containing significant omissions and a presentation slanted in favor of

its own positions, with no consideration of the appropriate standards under which

summary judgment is evaluated.

       Amanda West suffered sexual harassment, including disturbing physical assaults

and batteries of a sexual nature, that were sanctioned under Tyson’s leadership. Despite

complaints to Tyson management, including a Tyson Human Resources manager

and others charged with responsibility for those complaints, Tyson took no action to

timely investigate West’s concerns or provide prompt and remedial action, as

required by law. West reported the sexual harassment to Supervisor Corey Parks,
followed the direction of Parks to wait while the matter was being “fixed”, and was then

abandoned by Tyson to continue to suffer brutal sexual assaults and batteries. The help

that was guaranteed by Tyson in its sexual harassment policy and required by law never

arrived. Tyson’s management sanctioned the culture of sexual harassment prevalent in

its Robards’ facility, permitting constant attacks upon Amanda West while openly

admitting in the present litigation that it had no intention to investigate West’s claims,

even after West reported all that had occurred directly to Tyson’s Human Resources

manager. West easily establishes a prima facie case of sexual harassment and that she

was constructively discharged from her employment with Tyson.

                                    Statement of Facts

       Plaintiff Amanda West (hereinafter “West”) was hired at the Robards, Kentucky

chicken processing plant of Tyson Foods, Inc. (hereinafter “Tyson”) on approximately

January 7, 2005. Deposition of Amanda West, pp. 35-36. A copy of West’s deposition is

attached hereto as Exhibits A-1 (pages 1-64) and A-2 (pages 65-140) collectively. On

January 10, 2005, West received a copy of Tyson’s sexual harassment policy that firmly

established the manner in which Tyson promised it would handle any complaints of

sexual harassment from its employees. West depo., p. 33. A copy of Tyson’s sexual

harassment policy is attached hereto as Exhibit B.

       Tyson’s sexual harassment policy contains several provisions of significance to

West’s claims in this action. The policy makes all Team Members “responsible for

discouraging harassment” and requires any Team Member that learns of harassment to

“report it immediately”. Tyson’s reporting mechanism also establishes a clear line of

communication for its policy to be satisfied by a complaining, harassed Team Member.




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       Contact your supervisor and/or local HR Manager. The HR Manager
       will promptly investigate and resolve the complaint as quickly as possible
       to effect prompt and effective remedial action if harassment is determined
       to have occurred. In no circumstances, [sic] shall the investigation take
       longer than two working weeks. In cases where the parties work in close
       proximity and/or reporting, there should be careful attention to address
       that working relationship in the interim. Once resolved, if the Team
       Member wants to appeal the resolution, the Team Member can go to
       step 2.

Tyson sexual harassment policy, p. 2 (emphasis added). Tyson’s policy is satisfied upon

a Team Member reporting to a supervisor or a Human Resources Manager. Tyson

guarantees that, once reported, an investigation will be concluded within two “working

weeks”. Only after resolution of the complaint by a completed investigation does the

complaining Team Member have the right to appeal the decision resulting from the

completed investigation. See Tyson’s sexual harassment policy, Steps 2 and 3, p. 2.

I.     Sexual harassment suffered by Amanda West.

A.     Weeks one and two on the processing floor.

       After a few days of orientation, West was assigned to second shift and placed on

the processing floor of the Tyson plant and assigned to a “de-bone” table. West depo.,

pp. 38-40. West had requested second shift for the expected overtime and so that she and

her husband “don’t have to struggle the kids back and forth from one place to the other.

That way he can be home with them in the evenings.” Id. at 11-12, 91. The second shift

assignment was also important to West so that she only had to pay for childcare for a

couple of hours each day. Id.

       During West’s employment at Tyson, the second shift at Tyson was made up of

approximately eighty percent Hispanic employees, ten percent black employees and ten

percent white employees. Id. at 73. West, a Caucasian female, immediately began



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experiencing sexual harassment by numerous Hispanic male employees when she began

working on the processing floor. Id. at 48.

       The first week I was just being told that I had a nice ass, that I had big
       boobs, just that I was sexy like that.

Id. at 40-41. West testified that,

       they would hoop and holler. You would walk on the floor and they would
       just be woo-hoo, and doing the wolf whistle to you and hollering. I mean
       it would be a whole table of hollering and carrying on.

Id. at 41. West also alleges that during that first week on the floor, a couple of the

harassers “would be like you got a boyfriend, you know, and I just told them, no, that I

was married and leave me alone, not interested.” Id. at 42. The Hispanics would then get

in a group, look at West “and all smile and speak in Spanish and start laughing and

pointing at me. That happened a lot, too.” Id. West testified that the Hispanics would

harass her “every chance they got”, including in the hallways, in the cafeteria, in the

locker room and while walking on and off of the processing floor. Id. at 43. West

estimates that the wolf whistles and sexually oriented comments occurred at least 10 to

15 times for each shift that she worked (meaning that West suffered from a minimum of

220 incidents of sexual harassment during her four plus weeks working on the processing

floor). Affidavit of Amanda West attached hereto as Exhibit C.       Even while working at

the de-bone table, West alleges that Hispanic employees that would be sweeping the floor

would come up behind her and say sexually oriented “stuff” to her. Id.

       West states that the sexual harassment was open and obvious.

       I mean, they’re hollering through the whole plant, how anyone did not
       hear them is beyond me. I mean, the whole plant should have known.




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Id. at 45. West spoke to two co-workers, Andrea Boykin and John Fellows, about the

harassment in the first two weeks on the floor. West’s experience during the first two

weeks were consistently the same, with the Hispanics keeping up the verbal harassment,

asking West to go out with them, asking her if she had a boyfriend or a husband and

making comments about her breasts and behind. Id. at 50.


B.      Week three on the processing floor.

        During the third week, the Hispanic males on the processing floor continued to

make the same types of comments as in the first two weeks, as well as continuing the

“wolf whistles”. “[E]verything that happened in the first week continued to go on.” Id. at

64. However, the sexual harassment took an even more frightening, physical turn for

West.

        I was working in the chicken tender line, which was closed in, it was the
        back line and there was a line lead, which in my opinion those are
        supervisor-type people. I mean, he doesn’t have the supervisor title but
        he’s in charge of that line. His name was George, and he kept coming up
        to me while I was in the chicken tender line and getting right up in my ear
        saying stuff and he tried to kiss me on my cheek and I turned my head.
        And he asked me if I would go home and f-u-c-k him. And I told him,
        “No, that I was married and to leave me alone.” And he said that I had a
        nice ass and stood there a little bit longer. He finally got the point that I
        didn’t want anything to do with him and he walked off and he grabbed his
        crotch and he said “Suck my dick”. And he grabbed it and shook it at me.
        In his clothes, he didn’t take it out, but I mean –

Id. at 55-56. West testified that she told George that she was married. “He said he didn’t

care.” Id. at 58. George physically touched West (“his creek [sic] touched my cheek”)

when he attempted to press himself upon her. Id. Approximately eight other Hispanic

men witnessed George’s assault and battery upon West, “laughing and smiling and

carrying on while the whole thing was going on.” Id. at 61. West described her




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understanding of George’s authority in the line lead position as him being “responsible

for that line. Kind of like a manager type.” Id. at 59.

       At that point, West walked off the processing floor “to go speak to someone”,

finding her Trainer, O’dell Stokes, and Corey Parks, a Tyson supervisor and formal

member of Tyson management. West told Stokes and Parks what she had experienced

during her three weeks at Tyson. Id. at 65.


       I told Corey that -- everything that I just told you that George did and I
       told him about all the sexual comments that had been going on, people
       talking to me and things they had been saying and whenever I told him
       that George did that, he kind of looked at me confused, he said, “My
       George did that?” and I said, “Yes, he did.” And then he said, “Well, you
       just have to understand that that’s how Hispanics treat their women.
       That that’s their culture.” He said, “You just have to understand
       that.” And I proceeded to tell him that they’re in America and that they
       should have to treat us the same way that everyone else does that lives
       here. And he just kind of laughed and he said – he said, “Well, you are
       hot, you know.” And then he laughed again. And I just kind of gave
       him a look and like, you know, that’s not funny. And then he kind of
       realized that I was serious. . . And then he told me that he promised he
       would get to the bottom of it and he then proceeded to ask me if I wanted
       to go back to de-bone table, which to me was very offensive because he
       was wanting to move me instead of him and I told him no. Because the
       de-bone table is a lot harder than the tender, you know, I felt like that I
       earned getting to go to the tender line. And - - so he was wanting to move
       me instead of addressing the problem and I told him, no, that I didn’t want
       to be moved, that just put me to where I was visible.

Id. at 65-66 (emphasis added). During this conversation with Parks, West also identified

another Tyson Line lead named Samuel as an employee that had been making sexual

comments to West, and that Samuel “was very persistent” in his approaches and

comments to West. Id. at 70. West also physically pointed out two or three other

Hispanics to Parks that had been participating in the sexual harassment of West. Id.

“And he [Parks] looked, seen who they were and he said okay.” Id.




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        Parks was intent on “handling” West’s complaint his way.

        Q.      Did he ask you did you want to go to human resources?
        A.      No, he did not. He told - - actually he asked me not to. He said
                let me fix this first.
        Q.      So did you mention human resources to him?
        A.      No. That’s where I was headed with Odel Stokes. Odel Stokes
                was with me. He followed me out and I said I’m just going to go
                talk to somebody and that’s when Corey, you know, came over
                there. Because he seen I was crying, I was upset.

Id. at 71 (emphasis added). Parks told West that she should not go to human resources,

instead instructing West, “Well, let me fix it first. I promise you I’ll fix it, I’ll take

care of it.” Id. at 75.

     The Court should note that while Corey Parks and O’dell Stokes have largely

downplayed the content of Ms. West’s reporting to them in their depositions, and both

have denied that Corey Parks acted inappropriately when Ms. West made her complaint

directly to him, Tyson Trainer Natasha Brown contradicted their testimony regarding

West’s reporting to Parks in her deposition:

        Q.       Okay. And to your knowledge, she [West] and Junior [Odel
                Stokes, Jr.] then actually got some help?
        A.      Yeah.
        Q.       Ok. Do you know what form of help that was?
        A.      No, I don’t. I know he went to his supervisor.
        Q.      To Corey Parks?
        A.      Yeah.
        Q.      Do you know what happened after that?
        A.      Junior come to me, and he didn’t seem very happy. I know he
                went to Corey.
        Q.      You know that Junior actually spoke directly to Corey?
        A.      That’s what he told me. I didn’t see him. That’s what he told me.
        Q.      Did he tell you what he told Corey?
        A.       He told me that they went and spoke to him about it. He didn’t
                say, you know….I don’t know who the whole thing was about or
                what the issue was. I just know she was complaining about
                something.




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        Q.     Just so I’m clear, O’dell Stokes, Jr. told you that he had spoken
               directly to Corey Parks about Amanda West’s concerns about
               being sexually harassed?
        A.     Yeah
     ...
        Q.     Did you say that when O’dell came back from talking to Corey he
               appeared to be mad or upset or something? Did you say that, or am
               I dreaming that?
        A.     I said he looked kind of frustrated.
         Q.    Do you know why he was frustrated?
        A.     He spoke with Corey and he come back and seemed frustrated.
        Q.     But he didn’t tell you why?
        A.      He told me that the supervisor didn’t really – kind of blew it
               off, I guess.

Natasha Brown depo., pp 8-9, 17 (emphasis added). A copy of the cited pages to

Brown’s deposition are attached as Exhibit D.         Natasha Brown’s testimony

corroborates West’s testimony that Corey Parks responded “inappropriately” to

West’s complaints, supporting West’s contention that Parks told West that “that is

how the Mexicans treat their women” and that West was “hot.”

        When questioned by counsel for Tyson as to whether West had called Tyson’s

“800” number to report the sexual harassment during her third week on the floor, West

explained her clear understanding of Tyson’s sexual harassment policy.

    Q. And did you use either the two 800 numbers that you could call?
    A. No. I was going - - if you look up here [Tyson’s sexual harassment
       policy], the guidelines for reporting, if you read here what step one is, that
       is what I did. I never really had the chance to do step two because it says
       in here that they will investigate it first and then you can appeal the
       investigation.
    Q. Okay.
    A. It says contact your supervisor and/or HR manager, which I did.
    Q. Okay. But you didn’t talk to the HR manager?
    A. No.
    Q. You just talked to Mr. Parks.
    A. Because it said and/or which means you could speak to either one and I
       chose Corey [Parks].

Id. at 76.



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C.     Week four on the processing floor.

       After reporting her problems with the male Hispanic employees, including

reporting the “very persistent” line lead Samuel by name, West had another troubling

encounter with Samuel just a few days later during her fourth week on the Tyson

processing floor. Id. at 64.

       A.      One day I was going down the hall to the bathroom, this was while
               the shift was going on so the halls were empty. I don’t know if he
               followed me out there or if he just happened to be out there, but he
               come up behind me, put his arm around me, he pulled me to him
               to where my butt was up against, you know, he come up to me
               from behind.
       Q.      Okay.
       A.      He was from behind me. He actually had lip contact with my
               face. He kissed me.
       Q.      Okay.
       A.      And then he was, you know, just saying he thought I was hot and
               everything. I pushed him back to – you know, get away from me.
               And his hand went across my boobs and then as I was walking
               away he grabbed my butt.
       Q.      Okay.
       A.      And then he did it again on another date. He grabbed my butt
               again.
       Q.      Okay. Now, you say his hands went across your boobs, was this
               from the pushing or are you saying that he intentionally put his
               hand - -
       A.      He intentionally. Whenever I pushed him he reached up and just
               made a, you know.

Id. at 59-60 (emphasis added). During that fourth week, West was also physically,

sexually battered in the Tyson locker room by two male Hispanics.

       In the locker room on a different occasion there was two Hispanic men in
       there – I mean, there was a bunch of people in there. But two Hispanic,
       one of them kind of nudged me up against the locker and the other one
       was standing there and they grabbed my butt as well. . . he literally
       grabbed hold of it and squeezed it.

Id. at 62-63 (emphasis added).




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       West went to Tyson’s designated Trainer, Odel Stokes, who had been involved in

West’s reporting to Parks, and told him her problems at Tyson were continuing. Id. at 80.

       I said it’s not getting any better, you know. That’s when I had made the
       comment that I thought I was just going to quit and he went and talked to
       [Supervisor] Maria. What he said to Maria I have no idea, you know, so
       it’s not fair for me to say that he told her I was being harassed, but I know
       that he spoke to Maria because she made the comment to me that I was
       a good worker and that she hoped I would stick around.

Id. at 80 (emphasis added). During her fourth week on the floor, West continued

to tell Trainer Odel Stokes everything that was happening to her. Id. at 93. West

also informed two co-workers, Andrea Boykin and John Fellows, about the

continuing, escalating harassment. Id. at 87.

D.     Week five on the processing floor.

       West continued to experience constant comments of a sexual nature during her

fifth week on the processing floor at Tyson. Id. at 97. West testified that she reached her

breaking point during that fifth week. Id. at 96. Just a couple of days into the fifth week,

West describes leaving the Tyson plant in the middle of the night, by herself, to go to her

car that was parked in Tyson’s lot. Id. at 101.

       . . . I was by myself and I was walking to my car and there was a Hispanic
       man behind me, kind of doing the wolf whistle, type whistle and I turned
       around to see who’s back there and he had given me, you know, kind of a
       creepy smile. Not a friendly smile, you know, a smile that I was not
       comfortable with. I sped up. He sped up. I was, you know, at a very fast
       pace to get to my car. I was praying, please God, please God, don’t let
       me - - you know, I was scared to death. And he followed me all the way
       until I got in my car. I locked the doors and then he looked at me, gave
       me a creepy smile and then walked clear across the other side of the
       parking lot. So his car was nowhere near my car. He followed me all the
       way to my vehicle. And I was scared to death, looked in my rear view
       mirror all the way home.




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Id. at 96-97. West refused to return to her shift after the incident in the parking lot in

conjunction with everything else that had occurred at the Tyson plant.

       On the following Friday, however, West returned to the Tyson plant, going to the

office to pick up her final paycheck. Id. at 106-107. While at the Tyson plant, West met

with Human Resources Manager Ralph Guizar for 30-45 minutes. Id. at 107. During

that meeting, West went over in detail every incident of sexual harassment that occurred.

Id. at 108. West described her meeting with Guizar:

       A.      He was very apologetic and acted sincere. I mean - -
       Q.      Did he indicate that you didn’t have to quit, that this could be
               investigated?
       A.      He never told me I didn’t have to quit. He did tell me he would get
               to the bottom of it and he would, you know, investigate it after I
               left.
       Q.      Did he ask you for names of witnesses?
       A.      I told him that I spoke to Andrea, that I talked to Odel Stokes. I
               told him about Corey [Parks] and I told him the comment that
               Corey made to me also.
       Q.      At any point did Mr. Guizar indicate that, you know, we would
               investigate this and that you didn’t have to leave, that it could be
               investigated?
       A.      He never told me I didn’t have to leave. He told me he would
               investigate it, but he never told me I didn’t have to leave. He just
               let me leave.

Id. at 108-109. West’s meeting with Guizar is also the subject of the Motion for

Inference that has been filed by West for the Court’s consideration.

       When counsel for Tyson questioned West about refusing to return to work on the

Tyson processing floor, West’s response was clear and unequivocal.

       Q.      And before we move away from that exhibit, do you agree that
               pursuant to the policy form the two times you left and by not
               calling in on those days that you didn’t come to work, that you
               were terminable under Tyson’s attendance policy?
       A.      No, I do not. I feel like I left because the conditions were so bad
               that I could not return. I feel that they pushed me out of there,
               not that I left of my own free will.



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Id. at 110 (emphasis added).


II.    Tyson’s non-response to West’s reporting of sexual harassment.

       Prominently absent from Tyson’s 21 page Memorandum in Support of Summary

Judgment is any reference to the steps Tyson took to investigate and remedy West’s

reporting of sexual harassment as promised in its sexual harassment policy. The reason

for that omission is simple: Tyson did not take any action to investigate West’s

concerns during her employment or for months afterward, despite West’s reporting

to Supervisor Parks, Trainer Stokes and Human Resources Manager Guizar,

among others. Deposition of Stephanie Rackard, pp. 9-10. Tyson designated Stephanie

Rackard as its Rule 30(b)(6) corporate representative to testify as to matters relating to

Tyson’s response to West’s complaints. A copy of Ms. Rackard’s deposition is attached

hereto as Exhibits E-1 (pages 1-50) and E-2 (pages 51-100) collectively. The only

inquiry into West’s concerns undertaken by Tyson came after April 6, 2005, in response

to West’s Charge of Discrimination filed with the Equal Employment Opportunity

Commission that had been forwarded to Tyson. Id.

       Despite Tyson’s attempt at criticizing West’s reporting in their Memorandum,

Tyson’s official position is that West satisfied Tyson’s policy by reporting the sexual

harassment in week three to Supervisor Corey Parks. Id. at 26. Parks was then

required to pass the information along to Human Resources and an investigation was

required to begin immediately. Id. Tyson’s sexual harassment policy then unequivocally

promises that, “[i]n no circumstances shall the investigation take longer than two weeks.”




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Tyson’s policy also requires that if pay “careful attention to address that working

relationship in the interim”.

       West relied upon the promises and training provided by Tyson that her reporting

would initiate an immediate investigation into her concerns. “To my knowledge, Corey

[Parks] was fixing it because he told me he would.” West depo., p.78. West testified

that, from week three until she could take no more abuse in week five, she waited for

Tyson’s promised reaction and remedy.

       That’s why I didn’t go to a - - go a higher step up again because I - - you
       know, I thought that Corey was going to do it but yet nothing seemed to
       happen but in here [Tyson’s sexual harassment policy] it says it could
       take up to two weeks so, you know, I didn’t know what was going on.
       He never came up to me and told me that he did or didn’t go [to Human
       Resources]. I figured he would follow-up with me and he didn’t.

Id. at 85 (emphasis added). West’s desperation in waiting for Tyson to take action is

consistent with the admitted training she received from Tyson. Tyson acknowledges that

the complaining employee is told during Tyson’s sexual harassment training that “once

the investigation is concluded, that we’ll follow up with the complainant, and that due

to a confidentiality for other team members, we may not be able to go into detail with

respect to any action taken . . . .” Rackard depo., pp. 24-25 (emphasis added). West’s

reliance upon Tyson’s promised action led to continued, escalating sexual harassment,

with no intervention by Tyson and ultimately, a hopeless situation for West.

       . . . and so I reported it to Corey because that’s what it tells you to do and
       it says that they will investigate and, you know, it takes more than two
       weeks. Well, I was only there two more weeks so.

West depo., p. 77 (emphasis added).

       Corey Parks acknowledges that he did not report West’s complaints to Human

Resources, or to anyone else for that matter, and that no investigation was initiated by



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Tyson based on West’s reporting to Parks. Parks depo., p.26. Cited pages to Corey

Parks’ deposition are attached hereto as Exhibit F.

       Parks ultimately received written discipline for failing to handle West’s

complaints properly. A copy of the written warning received by Parks is attached hereto

as Exhibit G. Likewise, Trainers Odel Stokes and Natasha Brown were disciplined for

their failure to follow Tyson’s sexual harassment procedure by not reporting West’s

complaints to Human Resources. Attached hereto as Exhibit H are the disciplinary

notices for Stokes and Brown.

       Tyson also acknowledges that, despite West’s reporting of all events to Guizar, a

Tyson Human Resources Manager, during her exit interview, Tyson took no action to

investigate West’s complaints then, either. See Tyson’s Answer to Interrogatory No. 1

attached hereto as Exhibit I; see also Rackard depo., p. 25. In fact, Tyson now admits

that it had no plan or intent to launch any investigation into West’s complaints, even

after West’s detailed complaint to Guizar, prior to its receipt of West’s EEOC

Charge of Discrimination on April 6, 2005. Id.

       Curiously, Tyson did not even consider disciplining Human Resources Manager

Ralph Guizar, despite his exit interview with West in which even Guizar acknowledges

that West complained of being physically touched by Hispanic employees in a sexual

manner. Id. at 27-34. Tyson now grudgingly acknowledges that Guizar should also have

been issued discipline for failing to follow Tyson’s sexual harassment policy by taking no

action following West’s complaints. Id. at 33-34.

       After receipt of West’s Charge of Discrimination on April 6, 2005, Tyson finally

felt compelled to make an inquiry into West’s complaints, with no assistance from West




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and having conveniently “lost” Guizar’s notes containing West’s detailed allegations.

See West’s Motion for Inference based on the spoliation of Guizar’s exit interview notes

by Tyson currently pending before the Court; see also Rackard depo., p. 56. As a result,

Tyson based its review on Guizar’s memory of the exit interview with West, despite the

fact that Guizar admittedly could not even recall whether he interviewed West or what

she said. Attached hereto as Exhibit J are a series of emails between Guizar and other

members of Tyson management after Tyson received West’s Charge of Discrimination,

that, on their own, establish the minimal value of Guizar’s memory. Guizar wrote:

       Due to the large amount of persons I have seen since I talked to Amanda
       West, it would be extremely difficult to recollect exactly what was said.
       As best as I can recall, and this is after looking at her picture in her file,
       is that I did conduct the exit interview. She said something to the effect
       that she came to Tyson to work and not to be harassed by the Hispanics. I
       asked her what type of harassment was she talking about and she said
       sexual. The Hispanics were touching her behind, etc.

See Guizar email dated April 7, 2005 at 12:52 p.m.

       Tyson’s ultimate conclusion from its inquiry required by the EEOC, based upon

Guizar’s failed memory and the single paragraph contained in West’s Charge of

Discrimination, is that West was untruthful in her numerous reportings of sexual

harassment months earlier, during her employment. Id. at 71. In reaching its

conclusions, Tyson chose to believe as true comments from Tyson’s employees, months

after West’s departure, that were attributed to West that West wanted to spend more time

with her kids, while wholly rejecting all of the other comments that West made to those

same employees complaining about the ongoing sexual harassment. Rackard depo., pp.

66-67. West’s Motion for Inference requests that West be awarded an inference that

Guizar’s notes from West’s exit interview contain detailed facts and names regarding all




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of the sexual harassment suffered by West, information that was available to Tyson

during its period of responding to the EEOC, but that was not used by Tyson in its “too-

late” inquiry.




                               Summary Judgment Standard

        The familiar Rule 56 standard is clear. Only where "the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law" is summary judgment appropriate.

Fed.R.Civ.P. 56(c). The Court must view the factual evidence and draw all reasonable

inferences in favor of the nonmoving party. See Northland Ins. Co. v. Guardsman Prods.,

141 F.3d 612, 616 (6th Cir. 1998). “To prevail, the nonmovant must show sufficient

evidence to create a genuine issue of material fact.” Id. (Citing Klepper v. First Am.

Bank, 916 F.2d 337, 341-42 (6th Cir. 1990), in turn citing Celotex Corp. v. Catrett, 477

U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). “ ‘There must be evidence on

which the jury could reasonably find for the [nonmovant].’ “ Klepper, 916 F2d at 342

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S.Ct. 2505, 91 L.Ed.2d

202 (1986)).

                                         Argument

   I.      West’s sexual harassment claim against Tyson easily survives summary
           judgment.

        West asserts that she was sexually harassed by numerous male Hispanic co-

workers, by the comments from Corey Parks when West reported the sexual harassment




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and by the progressively violent and hostile actions of Line leads George and Samuel and

other unidentified Tyson employees.

       To establish a prima facie case of a hostile work environment based on
       sex, a plaintiff must show that: (1) she is a member of a protected class,
       (2) she was subjected to unwelcome sexual harassment, (3) the harassment
       was based on her sex, (4) the harassment created a hostile work
       environment, and that (5) the employer is vicariously liable.


Clark v. United Parcel Service, Inc. 400 F.3d 341, 347 -348 (6th Cir. 2005). Tyson does

not dispute in its Motion that West easily meets the first three requirements. Therefore,

West addresses the two remaining requirements establishing that she has suffered

actionable sexual harassment.

   A. West suffered actionable sexual harassment that was “severe and pervasive”.

       The Supreme Court has held that “[w]hen the workplace is permeated with

“discriminatory intimidation, ridicule, and insult,” that is ‘sufficiently severe or pervasive

to alter the conditions of the victim’s employment and create an abusive working

environment,’ Title VII is violated.” Harris v. Forklift Systems, Inc., 510 U.S. 17, 21

(1993) (citations omitted) (citing Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 65-

67 (1986)). Whether or not a hostile work environment exists is “judged by both an

objective and subjective standard: The conduct must be severe or pervasive enough to

create an environment that a reasonable person would find hostile or abusive, and the

victim must subjectively regard that environment as abusive.” Black v. Zaring Homes,

Inc., 104 F. 3d 822, 826 (6th Cir. 1997).

       “Rather than considering each event complained of in isolation, [the court] must

consider the totality of the circumstances in determining whether the harassment was

sufficiently severe and pervasive.” Randolph v. Ohio Dept. of Youth Services, 453 F. 3d



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724 (6th Cir. 2006) (emphasis added). Relevant factors include “the frequency of the

discriminatory conduct; its severity, whether it is physically threatening or

humiliating, or a mere offensive utterance; and whether it unreasonably interferes with

an employee’s work performance.” Harris, 510 U.S. at 23 (emphasis added).



           1.         Rejection of Tyson’s arbitrary compartmentalization of West’s
                      complaints requires the Court to dismiss Tyson’s summary
                      judgment motion as to “severe and pervasive”.

       The Court should note that, in its Memorandum, Tyson does not dispute that the

harassment suffered by West in weeks four and five on its processing floor satisfies

the “severe and pervasive” requirement. See Tyson’s Memorandum, generally.

During her final two weeks working on Tyson’s processing floor, West was subjected to

numerous, sexually oriented assaults and batteries. Tyson now attempts to slyly view the

indignities suffered by West as isolated incidents, rather than follow the law in

considering them under a “totality of the circumstances” in which West suffered sexual

abuse at the hands of Tyson employees that grew progressively worse only after West

had reported her concerns to Tyson management. In considering the “totality of the

circumstances”, including the sexual harassment in weeks four and five, rejection by this

Court of Tyson’s arbitrary division of West’s sexual harassment complaints between the

first three weeks and the last two weeks requires that Tyson’s Motion fails.



                     a. Tyson failed to take any action, including its promised
                        “immediate investigation” to protect West once she complained
                        to Parks.




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       Tyson attempts to arbitrarily “group” the sexual harassment suffered by West to

manipulate some form of an argument in support of summary judgment. Tyson has

admitted that West properly reported sexual harassment to Parks and Guizar that satisfied

Tyson’s reporting requirements under its own sexual harassment policy. That policy

required Tyson to initiate an immediate investigation upon West’s initial complaint to

Parks and to pay “careful attention to that working relationship in the interim”. Had

Tyson simply acted as it promised West and done what the law required at that point, to

“prevent and correct” the harassing conduct, West would have been spared the indignity

of the brutal assaults and batteries that she suffered in weeks three, four and five. Clark

v. United Parcel Service, Inc., 400 F.3d 341, 350 (6th Cir. 2005). As noted by the U.S.

Supreme Court in Faragher v. City of Boca Raton, 524 U.S. 775, 805-06, 118 S.Ct. 2275,

141 L.Ed.2d 662 (1998), “the primary purpose of Title VII is not to provide redress for

harassed employees, but to avoid the harm in the first place.”

       Upon reporting to Parks, West was instructed by Parks to not go to Human

Resources and that Parks would “take care” of the situation. West satisfied her duty by

following Tyson’s policy in reporting to Parks and then following the direction of

Tyson management.

       When Tyson failed to take any action to protect West upon her initial complaint to

Parks, Tyson became responsible for all that followed.

       A supervisor's failure to act when that supervisor has knowledge of the
       harassment and the authority to prevent it inflicts harm on the victim that
       is as real as if the supervisor were doing the harassing. The victimized
       employee in this situation thus suffers two distinct, discriminatory harms:
       the co-worker's initial harassment; and the supervisor's implicit approval
       of the harassment, which changes and intensifies the quality of the injury.
       In addition, a supervisor's inaction in the face of adequate notice of
       harassment “is facilitated by the existence of the actual agency



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          relationship” as surely as if the supervisor's action created it. Faragher,
          118 S.Ct. at 2290. The agency relation is indispensable to the infliction of
          the injury because supervisors are in a position to receive and act (or fail
          to act) on sexual harassment complaints only because of the authority
          delegated to them as agents.

Coates v. Sundor Brands, Inc., 164 F.3d 1361, 1368 (11th Cir.1999). In Faragher, the

Supreme Court noted that the EEOC’s Guidelines on Discrimination Because of Sex hold

the employer liable for coworker harassment if it “knew or should have known of the

conduct, unless it can show it took immediate and corrective action,” and cited with

approval a leading treatise that asserted that courts “uniformly” apply the EEOC rule,

noting that “[i]t is not a controversial area”. Faragher, 118 S.Ct. at 2289 (emphasis

added).

                       b.   Tyson intentionally ignored West’s repeated complaints of
                            sexual harassment to her supervisors and Human Resources that
                            were made consistently for three weeks after her report to Parks.

          Tyson’s sexual harassment policy instructed West to “[c]ontact your supervisor”

to report harassment. West made numerous complaints within a three week period,

beginning with West’s report to Parks. In between West’s initial report to Corey Parks

and her final report to Guizar, West reported the ongoing, escalating harassment to

Tyson’s designated Trainer over West, Odel Stokes. “. . . I talked to him all the time. I

talked to him a lot.” West depo., p. 92. In that interim two week period, while Tyson

was presumably performing an exhaustive investigation into the harassment and taking

prompt and remedial action to prevent any other harassment, West informed Stokes that

the situation was “not getting any better.” Id. at 80. West told Stokes that her butt had

been grabbed, told Stokes about the sexual mauling by Samuel in which Samuel had

grabbed West’s breasts and butt, kissed her and pulled her against him. Id. at 82, 86.




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West also told Stokes that “this [the harassment] is getting too much and I didn’t think I

could work here with all this going on.” Id. at 91.

       The Court should note that Tyson, through its designated corporate

representative, views both Trainers Odell Stokes and Natasha Brown as serving in

a supervisory capacity for purposes of who may properly receive a formal

complaint of sexual harassment under Step 1 of Tyson’s sexual harassment

policy. Tyson disciplined both Stokes and Brown for their failure to protect West

and follow Tyson’s sexual harassment policy by initiating an investigation, but

took no action against West’s peers, Boyken and Fellows, with whom West also

shared her concerns.


   Q. Why did Tyson not discipline [Team Members] Boyken and Fellows and
      actually discipline [Trainers] Stokes and Brown?
   A. I know that Stokes and Brown are - - I believe they are trainers in a
      support capacity. But to answer that, I don’t know.
   Q. Okay. Being trainers, are they - - are they deemed as being higher up in
      the rank at Tyson than, say, Boyken and Fellows?
   A. Yes.
   Q. Someone that West would have looked to in some kind of supervisory
      capacity?
   A. Yes.
   Q. Is that your best guess as to why those two were disciplined and Boyken
      and Fellows were not?
   A. Yes, I - - yes.

Rackard depo., p. 51; but see Rackard’s depo., pp. 87-89 (where, after a break during the

deposition and upon direct questioning by Tyson’s counsel, Rackard attempts to dispute

whether Trainers Stokes and Brown had a supervisory role); but see also Rackard depo.,

pp. 94-98 (redirect by counsel for West, noting the oddly timed discrepancy of Rackard’s

opinions, with Rackard still acknowledging that Tyson holds its Trainers out to new hires

as someone to go to if the new hires “have issues about how to conduct your job.”).



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       Tyson’s argument that West’s claim for sexual harassment must be

compartmentalized into the first three weeks and the final two weeks of her time on the

processing floor is nothing short of ridiculous. Tyson omits from its Memorandum

Tyson’s legally required obligation to have initiated an active investigation into West’s

complaints immediately after she reported to Parks in her third week on the processing

floor and to protect West in the “interim”. Tyson also wholly ignores the fact and timing

of West’s continuing reports to Stokes and her final report to Guizar, all of which took

place within a period of less than three weeks following the initial report to Parks

and Stokes. Instead, Tyson abandoned West to the harassment, taking no action and

intending to take no action, despite West’s reporting and despite Tyson’s promises in its

sexual harassment policy of prompt and remedial action and some notification to West of

the results of the investigation only at its completion.

       Notwithstanding the horrific events of weeks four and five, West’s initial

reporting to Parks and Stokes alone is actionable. See EEOC v. Harbert-Yeargin, Inc.,

266 F.3d 498, 508-509 (6th Cir. 2001) and Williams v. Gen. Motors Corp., 187 F.3d 553,

562-564 (6th Cir. 1999). In Harbert-Yeargin, the Sixth Circuit found that a plaintiff

made a prima facie showing of hostile work environment where a male supervisor

grabbed a male employee’s genitals on two occasions, stalked the employee several times

in a day and where the employee’s co-workers taunted him for complaining. Likewise, in

Williams the Sixth Circuit held that a hostile work environment was shown when, over a

four month period, a male supervisor stared at the plaintiff’s breasts and said, “[y]ou can

rub up against me anytime . . . you would kill me . . . I don’t know if I can handle it, but

I’d die with a smile on my face,” came up behind her, put his arm around her neck and




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told her that she “left the dick out of the hand” when she wrote “Hancock Furniture

Company” and came up behind her on another occasion while she was bending over told

her to back up.

       At the time West complained to Corey Parks in her third week of working on

Tyson’s processing floor, she had been subjected to countless, ongoing sexually

motivated cat-calls, wolf whistles and comments about her “big boobs”, her “nice ass”

and whether she was willing to go on a date (regardless of her marital status), all of which

occurred “every chance they got”. By West’s calculation, this was approximately 10 to

15 times per shift or a minimum of 220 times total in her five weeks on the processing

floor. The harassment was so pervasive that it was being permitted in every area of the

plant, including the cafeteria, hallways, locker room and processing floor, such that West

had no work area that was free of harassment. West describes the conduct of the

Hispanic harassers as so aggressive and pervasive that “how anyone did not hear them is

beyond me. I mean, the whole plant should have known.”

       In addition, prior to West’s complaint to Parks, West was assaulted and physically

battered by Line lead “George”, who was so emboldened by Tyson’s lax attitude that “he

kept coming up to” West, “getting right in my ear saying stuff” and making physical

contact with West’s face when he tried to kiss her. Notwithstanding the failed

aggressive attempt to kiss West, George asked West if she would “go home and f-u-c-k

him”. When West said “no” he told West that she had a “nice ass and stood there a little

bit longer”, clearly in a threatening, contemplative gesture. George’s leadership qualities

really shone through when, upon one of the rejections by West, he grabbed his crotch,

told West, “suck my dick” and then shook his penis at West.




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       In Clark, the Sixth Circuit recently based its analysis of whether a work

environment was severe and pervasive upon whether the incidents of sexual harassment

were deemed to be isolated or ongoing. Clark, 400 F.3d at 352. The Sixth Circuit

dismissed the claim of one plaintiff in Clark that had alleged only “isolated instances” of

misconduct, but overruled the defendant’s motion for summary judgment on the “closer

case” presented by the co-plaintiff that alleged “more of an ongoing pattern of unwanted

conduct”. Id.

       Certainly, West was subjected to an ongoing pattern of constant cat-calls, wolf

whistles and a stream of comments about her breasts and behind, as well as requests

about whether she was married or had a boyfriend, and was also subjected to the specific

attacks by Line lead George, who “kept coming up” to West, saying things in her ear,

attempting to kiss West in a physically aggressive manner, demanding that she “go home

and f-u-c-k him”, commenting on her “nice ass” and then lingering in her presence,

telling West to “suck my dick” and shaking his penis at West. West was subjected to

physical harassment, and physically threatening harassment, of which was all reported to

Parks and Stokes in week three.

       West also specifically complained to Parks about Samuel making sexual

comments to West and expressed her concern, well founded in hindsight, that Samuel

“was very persistent” with his harassment of her. This conduct, coupled with Tyson’s

tacit admission that the “ongoing pattern” of harassment suffered by West in weeks four

and five was severe and pervasive, satisfies the hostile work environment standard and

requires that Tyson’s Motion for Summary Judgment fail as a matter of law.




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   B. Tyson’s Motion for Summary Judgment fails whether West’s harassers were co-
   workers or supervisors.

   1.     Tyson is directly liable for the misconduct of its employees because it “knew or
         should have known” of the charged sexual harassment.

         Tyson declares that George and Samuel, along with the other Hispanic males

harassing West, were mere co-workers with West and that West’s claim must be analyzed

as co-worker harassment. See Tyson’s Memorandum, p. 13. However, Tyson curiously

makes no legal analysis or argument as to co-worker harassment in its Memorandum,

likely because West must only establish that Tyson “knew of should have known” of the

harassment and failed to take action in order to defeat summary judgment. Id.

         In the case of a harassing co-worker, “[a]n employer is liable if it knew or
         should have known of the charged sexual harassment and failed to
         implement prompt and appropriate corrective action.

Clark, 400 F.3d at 348.

   It is undisputed that West’s reporting to Parks/Stokes of sexual harassment was badly

mishandled, with no investigation as required and promised to West in Tyson’s sexual

harassment policy, and with Parks himself joining in the harassment by (1) condoning the

harassment as a cultural phenomenon among Hispanic males and (2) making harassing

comments himself to West directly. Parks then instructed West that she should not go to

Human Resources, promising that he would “fix it”. Instead of an immediate

investigation that “[i]n no circumstances” would take longer than two weeks according to

Tyson’s policy, West was abandoned by Tyson to fend for herself while she waited for

Tyson to complete a “confidential” investigation that Tyson was not performing. West

had no idea that Parks had not performed his duties under Tyson’s sexual harassment

policy




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       That’s why I didn’t go to a - - go a higher step up again because I - - you
       know, I thought that Corey [Parks] was going to do it but yet nothing
       seemed to happen but in here [Tyson’s policy] it says it could take up to
       two weeks so, you know, I didn’t know what was going on. He never
       came up to me and told me that he did or didn’t go. I figured he would
       follow-up with me and he didn’t.

West depo., p. 85; see also id. at 101. Parks instructed West not to go to Human

Resources, promising action, and West waited in reliance on Park’s direction. Now

Tyson attempts to cast blame on West for acting consistent with Tyson’s policy in

reporting to Parks and following his directive.

       West’s continuous reporting to Trainer Stokes and final reporting to Guizar, in

addition to reporting to Parks, defeats any effort by Tyson to suggest Tyson did not know

or have reason to know of the sexual harassment. West specifically reported to Stokes

everything that was happening to her, at one point desperately telling Stokes that she was

going to have to quit her job because “it’s not getting any better”. In fact, the brutal

assaults and batteries of which she informed both Stokes and Guizar grew more violent as

time progressed.

       Tyson disciplined Trainers Stokes and Brown for receiving reports of sexual

harassment from West due to the higher rank that they held relative to West’s co-

workers, who received the same complaints but were not disciplined. Tyson’s corporate

representative, Stephanie Rackard, acknowledges that West should have appropriately

looked to Stokes and Brown as if they were in a supervisory capacity to West for

purposes of reporting. Rackard’s own testimony, acknowledging Stokes’ supervisory

capacity to West under Tyson’s sexual harassment policy, makes clear that West

acted reasonably in reporting the sexual harassment to Stokes.          See Clark, 400 F.3d

at 350 (when an employer designates certain employees as implementors of its sexual



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harassment policy and when those employees become aware of misconduct, the employer

is deemed to have notice of the harassment.). Rackard’s opinion, not just as Tyson’s

corporate representative, matters. Rackard is an EEO specialist for Tyson, whose

primary job is to enforce Tyson’s sexual harassment policy.

       West also reported all of the sexual harassment that she had endured to Guizar in

her final act of employment before she could receive her final paycheck, again with no

action by Tyson.    Contrary to Tyson’s “other side of the mouth” argument that West

unreasonably failed to report the harassment that occurred in weeks four and five, West

timely reported all of that conduct to Trainer Stokes and then to Guizar in Human

Resources, with no results or action by Tyson. Tyson had no interest in West’s reporting,

or the prevention of sexual harassment in general, and admittedly intended to do

nothing even after West’s final reporting to Guizar.

   Tyson does not dispute that West reported sexual harassment to Parks, Stokes and

Guizar. Therefore, Tyson knew of the sexual harassment and took no action to

investigate and remedy as required by law. For these reasons alone, Tyson’s Motion for

Summary Judgment must be overruled.

2.      With George and Samuel as West’s supervisors, Tyson is not entitled to an
affirmative defense, as a matter of law, where it failed to perform any investigation or
take prompt and remedial action based upon West’s reporting.

   Surprisingly, Tyson comes before the Court claiming entitlement to the

Ellereth/Faragher affirmative defense that requires it to have “exercised reasonable care

to prevent and correct promptly any sexually harassing behavior”. See Tyson

Memorandum, p. 12; see Faragher v. City of Boca Raton, 524 U.S.775, 118 S.Ct. 2275

(1998). Tyson makes this argument in an effort to avoid being held strictly liable for the




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harassment suffered by West. See Burlington Industries, Inc. v. Ellereth, 524 U.S. 742,

760-765, 118 S.Ct. 2257 (1998)(if the harasser is a supervisor, the employer is strictly

liable for the harassment).

   West indeed looked to the Line leads promoted and held out by Tyson as individuals

above her in rank, who were given Tyson’s authority to supervise her. For example,

West noted that line leads at Tyson were “supervisor type” who were in charge of

running certain production lines at Tyson and that Line lead George was “responsible for

that line. Kind of like a manager type.” West depo., pp. 55-56, 59. Tyson holds its

Trainers and Line leads out to its employees as individuals authorized to speak and act

and direct work assignments for Tyson to employees like West.

   The EEOC’s guidelines defines a “supervisor” for purposes of Title VII as a person

who, without regard to job title,

       has authority to undertake or recommend tangible employment decisions
       affecting the employee; or . . . has authority to direct the employee’s
       daily work activities.

See EEOC’s “Enforcement Guidance: Vicarious Employer Liability for Unlawful

Harassment by Supervisors, Part III(A). In Mack v. Otis Elevator Co., 326 F.3d 116, 127

(2nd Cir. 2003), the Second Circuit rejected the notion that a supervisor under Title VII

must have the authority to hire or fire, instead recognizing that, under Faragher, the

exercise of authority granted by the employer is sufficient for a finding that an employer

is a supervisor.

       The question in such cases is not whether the employer gave the employee
       the authority to make economic decisions concerning his or her
       subordinates. It is, instead, whether the authority given by the employer to
       the employee enabled or materially augmented the ability of the latter to
       create a hostile work environment for his or her subordinates. We
       therefore conclude that the authority that renders a person a supervisor for



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        purposes of Title VII analysis is broader than that reflected in the Parkins
        test.

Mack, 326 F.3d at 127; see also Doe v. Oberweis Dairy, 456 F.3d 704, 716-718 (7th Cir.

2006)(Judge Posner notes that under Ellereth and Faragher, an employer has a higher

duty of care to protect its employees against those employees whom the employer has

armed with authority, even if it is less authority than that which triggers strict liability).

    Significantly, Tyson’s reliance upon the “face” of its sexual harassment policy alone

means that there is no affirmative defense available.

        While the affirmative duty on the part of the employer will often include
        the requirement that it have some sort of sexual harassment policy in
        place, the duty does not end there. Prong one of the affirmative defense
        requires an inquiry that looks behind the face of a policy to determine
        whether the policy was effective in practice in reasonably preventing
        and correcting any harassing behavior. See Faragher, 524 U.S. at 806,
        118 S.Ct. 2275 (stating that an employer may satisfy its burden if it has a
        “proven, effective mechanism for reporting and resolving harassment);
        Barna, 172 F.3d 47 (finding that the inquiry under prong one is whether,
        upon having some notification of alleged harassment, the employer
        adequately investigated and responded to the situation). Thus, in
        determining whether UPS took reasonable care in preventing and
        promptly correcting the alleged sexual harassment in this case, we must
        look not only to UPS’s sexual harassment policy, as the district court did,
        but also to its implementation of that policy.

Clark v. United Parcel Service, Inc., 400 F.3d 341, 349 (6th Cir. 2005) (emphasis added).

Tyson’s dedicates much of its brief to an affirmative defense that is impossible to achieve

under the facts of this case, as it took no action under its own sexual harassment policy to

timely investigate, prevent and correct the harassment suffered by West. In Clark, the

Sixth Circuit determined that UPS, like Tyson in this case, placed a duty on all of its

supervisors to report sexual harassment to the appropriate management personnel. Id. at

350. After viewing evidence presented by the plaintiff that numerous supervisors

witnessed sexual harassment, the Sixth Circuit declared that UPS could not benefit from



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the affirmative defense at the summary judgment stage because it failed to show that

there is no genuine issue of material fact regarding whether it exercised reasonable care

in preventing and correcting harassment under prong one of the defense. Id. at 351.

       In West’s case, it is undisputed that Tyson took no action under its sexual

harassment policy to prevent or correct harassment, despite West’s reporting, and despite

direct involvement in the harassment by Parks, a formal member of Tyson management,

and Line leads George and Samuel. There is not even a jury question available to

Tyson on the issue, much less an entitlement to summary judgment. The discipline

of Parks, Stokes and Brown by Tyson, all recognized by Tyson as being responsible

under its policy to take action and having failed in their duty to West, in addition to

Tyson’s undisputed failure to investigate or correct, precludes any affirmative defense as

a matter of law.

       The Court should also note that Tyson’s reliance upon Pennsylvania State Police

v. Suders, 124 S.Ct. 2342, 2351 (2004), which permits a defendant to assert the same

Faragher affirmative defense in a supervisor-generated hostile environment/constructive

discharge case in the absence of an “official act”, fails for the exact same reason. It is

undisputed that Tyson performed no investigation and took no action to prevent the harm

being suffered by West once she reported to Parks and others, making the attempted

assertion of the affirmative defense by Tyson an exercise in futility. The Court should

also note, however, that Park’s decision to instruct West not to report harassment to

Human Resources directly after reporting to Parks does represent an “official act” by

Tyson management under Suders that effectively altered the application of Tyson’s

sexual harassment policy as it related to West. Under Suders, such an official act which




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resulted in West suffering additional sexual harassment while waiting for the promised

action by Tyson presents a genuine issue of fact concerning West’s hostile work

environment and constructive discharge claim. Suders, 124 S.Ct. at 2357 (noting that

while acts of sexual harassment by her supervisors were unofficial conduct, Suders’

allegation surrounding her superiors’ failure to forward her computer skills exam for

proper evaluation “were less obviously unofficial”, resulting in a denial of the

defendant’s motion for summary judgment by the Supreme Court.) Parks’ affirmative

official act, and that of Tyson in general in refusing to implement its own sexual

harassment policy, means that to the extent that George, Samuel and Parks were West’s

supervisors, Tyson is automatically liable for West’s injuries.

   II.      West was constructively discharged as a result of Tyson’s permissive attitude
            toward a sexually and physically hostile environment.

         Tyson attacks West’s claim of constructive discharge on only two fronts: (1)

whether West subjectively believes that Tyson tried to intentionally get West to quit and

(2) whether the final event that prevented West from returning was sexually motivated.

Tyson fails on both arguments, again refusing to acknowledge the facts and to make

inferences in the light most favorable to West.

         Tyson attempts to avoid the obvious damages flowing from its constructive

discharge of West by mischaracterizing West’s deposition testimony through omission

and slight of hand. Tyson argues:

         Ms. West cannot establish that that [sic] she was constructively
         discharged. Ms. West admits that Tyson was not intentionally attempting
         to force her to quit:
         Q.      Do you believe that Tyson was trying to intentionally get you to
         quit your job?
         A.      No.




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       (West Depo., p. 118.) Thus, she cannot show that Tyson was intentionally
       trying to force her to quit.

Tyson Memorandum, p. 19.

       Tyson’s desperation is apparent upon its aggressive mischaracterization of West’s

deposition testimony evident in this argument. Tyson omits the context in which the

above cited testimony was given. During this portion of West’s deposition, Tyson’s

counsel was questioning West about the day that West reported the sexual harassment to

Parks during her third week on the processing floor and West was answering according

to her perspective on that day in dealing with Parks. See West depo., pp. 115-118.

As the Court can see, during these few pages of her deposition, counsel for Tyson was

questioning West about her interaction with Parks about the day of her complaint to Parks

and Park’s inappropriate reaction to West. In her answers on those deposition pages,

West continually refers to her perspective in dealing with Parks on the day when she

reported the harassment to Parks. See discussion at page 116 of West’s deposition,

e.g. “I told him I didn’t want to go back to the de-bone table.” Id. at 116. As the

questioning progressed, it is apparent that West continues to answer from the same

perspective of her feelings on the day she reported to Parks.

       A. After suggesting that I go back to the de-bone table and I told him that
          that’s what I wanted to do, then he proceeded to put me where I said I
          wanted to go.
       Q. At any other point in time did he [Parks] ever do anything else you felt
          was retaliation?
       A. Not reporting it to HR for me and correcting the problem
          [immediate investigation is required under Tyson’s policy].
       Q. Okay. So you felt like his alleged failure to report was retaliation?
       A. Yes.
       Q. Now, as you testified earlier, you weren’t aware that he had not reported this
          until after you had already left Tyson and the EEOC proceeding had began,
          correct?
       A. Correct.



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       Q. So at the time you were working there, you didn’t feel that he [Parks]
          was retaliating against you on that grounds, did you?
       A. Not that day, but looking back at it I see that he was.
       Q. Okay. Did you ever have a change in your job duties?
       A. No. Other than just from the de-bone table to the tender table, that was
          all.
       Q. You wanted to work on the chicken tenders; is that correct?
       A. That’s correct.
       Q. Okay. After your conversation with Mr. - - your alleged conversation
          with Mr. Parks, were there any other changes in your duties after that
          conversation?
       A. No.
       Q. Were your working hours changed?
       A. No.
       Q. Was your pay ever changed?
       A. No.
       Q. Did Mr. Parks ever treat you in a way that he was angry with you
          because you had allegedly complained of sexual harassment?
       A. Not angry, but him saying that I was hot and laughing about it [on
          the day of West’s complaint to Parks] showed me he thought it
          was a joke.
       Q. Do you believe that Tyson was trying to intentionally get you to quit
          from your job?
       A. No.

West depo., pp. 116-118; see also West’s Affidavit attached hereto as Exhibit C,

confirming that this response was given relative to Park’s response to her complaint on

the day West made the complaint. Tyson’s concerning tactic of presenting a short quote,

completely out of context, to argue in favor of an ultimate issue on summary judgment, is

clearly an effort to mislead the Court, given West’s other testimony that day. Just

moments earlier in her deposition, West actually testified about her reaction and

subjective feeling over Tyson’s “constructive termination”, which Tyson completely

omits from its argument.

           Q. And before we move away from that exhibit, do you agree that
              pursuant to the policy form the two times you left and by not
              calling in on those days that you didn’t come to work, that you
              were terminable under Tyson’s attendance policy?




                                            33
                A. No, I do not. I feel like I left because the conditions were so bad
                   that I could not return. I feel that they pushed me out of there,
                   not that I left of my own free will.

Id. at 110 (emphasis added). Fortuitously, Tyson was given an opportunity to prevent

West’s departure from Tyson when West met with Guizar and told him that she had to

leave due to the sexual harassment. Of course, Tyson failed West on that day as well,

doing nothing to correct the harassment or prevent West’s departure.

                Q. At any point did Mr. Guizar indicate that, you know, we would
                   investigate this and that you didn’t have to leave, that it could be
                   investigated?
                A. He never told me I didn’t have to leave. He told me he would
                   investigate it, but he never told me I didn’t have to leave. He just
                   let me leave.

Id. at 109 (emphasis added). Tyson’s exposed attempt at misdirection, coupled with

West’s actual testimony of her subjective feelings regarding leaving employment at

Tyson, defeats Tyson’s argument as to West’s subjective feeling under the summary

judgment standard and requires that Tyson’s Motion be overruled.

           Tyson also weakly argues that West being followed to her car on the final night

that she worked could have been “an attempted robbery, car-jacking or other non-sexual

criminal act.” Tyson Memorandum, p. 20. Despite Tyson’s wildly speculative

allegation, West was not robbed, nor was her car stolen that night. What did occur was

that Tyson permitted a Hispanic male at the Tyson plant to harass West in a threatening,

sexual manner. The Hispanic male wolf whistled at West, smiled at her in a manner that

suggested significantly less than romance and followed West in a threatening manner to

her car, matching her pace as she fled.1 For five weeks, West had been, with Tyson’s


1
 The American Heritage Dictionary defines “wolf whistle” as a “typically two-note whistle made as an often unsolicited expression
of sexual attention.” The American Heritage Dictionary of the English Language, Fourth Edition. Houghton Mifflin Company,
2004. Tyson either did not understand the term or its connotation given by West in her testimony, or simply again ignores the actual
evidence in the record.



                                                                34
permission, subjected to constant wolf whistles, sexual comments and at least four

instances of physical, sexual battery. Tyson’s argument suggests that nothing short of

West suffering a fifth instance of sexual battery in lieu of fleeing from her place of

employment will satisfy its own “lofty” standards in dealing with sexual harassment.

          West certainly perceived that Tyson deliberately created intolerable working

conditions for her. Parks, a member of Tyson management, instructed West not to go to

Human Resources, and then took no action to investigate what was happening, took no

disciplinary action against those harassing West, and did nothing that could effectively

prevent any future harassment by the “very persistent” Samuel or the other Hispanic

males identified by West. West also offers plenty of evidence that Tyson so acted with

the intention of forcing West to quit. Even when West complained to Guizar and told

him why she was leaving, Guizar never suggested to West that she should not leave.

Instead, West testified that he “just let me leave.” West describes her discussion with

Guizar:

   A. The comment that I made was that I wanted to get out of here because of the
      way that I had been treated and that, yes, my husband didn’t want me
      around that kind of behavior and activity.
   Q. Did you tell him [Guizar] that your husband didn’t want you to work there
      anymore?
   A. Yes. Due to the way I was being treated, yes. He wanted me to go to work
      everyday and come home happy at night with a paycheck at the end of the week.
      Not come home crying and upset.

West depo., p. 109 (emphasis added). Tyson’s admission that it never intended to take

any action to investigate West’s complaint to Guizar, at the point that she was telling

Tyson that she had no choice but to leave due to the harassment, is indisputable evidence

of Tyson’s intent as to West. Tyson deliberately created and permitted intolerable

working conditions, as would be perceived by a reasonable person, with the clear



                                              35
understanding and intention that West would not continue her employment. See Logan

v. Denny’s, Inc., 259 F.3d 558, 568-569 (6th Cir. 2001).



                                               Conclusion

         For the foregoing reasons, Amanda West respectfully requests that the Court

overrule Tyson’s Motion for Summary Judgment.2

                                                                        Respectfully submitted,

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                                         Certificate of Service

I hereby certify that on September 6, 2007, I electronically filed the foregoing Response
with the clerk of the court using the CM/ECF system, which will send a notice of
electronic filing to the following:

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2
 West initially filed retaliation counts against Tyson as well as her sexual harassment claim. Through the
progression of discovery, it has become apparent that the facts in this case center around sexual harassment.
West therefore waives her claims for retaliation under the Federal Civil Rights Act and Kentucky Civil
Rights Act in the interest of judicial economy.


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